Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 1 of 56




  Details of the Offense:Trafficking in military equipment, an offense pursuant to Section 2 of the prohibition Against
  Trafiicking in Military Equipment (Judea and Samaria) Order (No. 243),5728-1968.
  Details of ihe Offense:The above-named Defendant, within the Region, in or around April 2006, trafficked or dealt in a
  different way in military equipment without an authorlzation signed by the IDF commander in the Region or his
  representative, specifi cally:
  On the said date, in or around Mazra'ah Qabilah, the Defendant gave Hasan Ladadweh a handgun without the authorization
  of the IDF commander of the region or his representative.




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  SHATSKY- JDO1577-T                                                                               CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 2 of 56




 SHATSKY-JDo1s78-T                                                                                      CONFIDENTIAL

  Page:17t29  To: 022954953                                046111741 From:ADV-SALH-M 13-MAR-2011 17:18
 Fiftv-seventh Count:
 Ig!C19-g11@f9!S- Providing a service to an unlaMul association, an offense pursuant to Regulations 84 and 85(1Xc)
 ofthe Defense (Emergency) Regulations, 1945.
 Details of the Offense: The above-named Defendant, within the Region, on or around 04.18.2006, did some kind of work
 or provided some kind of service for an unlawful association, specifically:
 On the above-stated date, in or around Mazra'ah Qabilah, the Defendant met with Hasan Ladadweh. The latter told the
 Defendant about his contacts with Hamas through Rami Abu Ri'ash, who thought that they were with the Gaza Strip The
 Defendant suggested to the above-named Hasan to work with him instead of with the activists from the Gaza Strip and
 Hasan agreed to this. The Defendant said that at the moment the goal of the military cells has to be kidnappings and not
 suicide terror attacks.
 The Defendant told the above-named Hasan that he had come to his house in possession of a satchel ofweapons and
 asked Hasan to use the computer in his house. Hasan agreed to this and afierwards the Defendant used the Defendant's
 computer and a portable memory card he had brought with him and, using the computer, printed out several documents
 that contained information about the activity of Hamas during the elections, the political status of Hamas and instructions
 regarding successful recruitment of a military cell. ln addition, the Defendant copied to the portable memory card a
  document regarding an operative plan to kidnap lsraeli civilians that included a list of people who could be kidnapping
  targets.
  Afteruards, the Defendant and the above-named Hasan made sure to hide the satchel with the weapons in the yard of
  Hasan's house. The Defendant told Hasan that the weapons were meant for a military cell he would be establishing.
  A short time later, IDF forces burst into the above-named Hasan's house but the Defendant and Hasan managed to flee
  and escaped togetherto the lskan Region.


  E&-ejs!!@3:
  Nature of the Offense: Weapons possession, an offense pursuant to Section 53(a)(1) of the Security Provisions (Judea
  and Samaria) Order (No. 378), 5730-1970.
  Details of the Offenso: The above-named Defendant, within the Region, starting at a date unknown to the prosecution
  and until 04.18.2006 or thereabouts, had in his possession a firearm, ammunition, bomb, hand grenade, or explosive or
  incendiary device, instrument or object or thing intended or liable to cause death or serious injury, without a permit issued
  by or on behalf of a military commander, specifically:
  During the above-stated period, the Defendant had in his possession a satchel which held the following weapons:
       r     3 Kalachnikov assault rifles
       .     5 empty cartridges
       c     125 gmm bullets



  Efg{itrtlt-coun!:
  Nature of the Offense: Weapons possession, an offense pursuant to Section 53(aX1) of the Security Provisions (Judea
  and Samaria) Order (No. 378), 5730-1 970.
  Details of the Offense: The above-named Defendant, within the Region, starting at a date unknown to the prosecution
  and until 05.23.2006 or thereabouts, had in his possession a firearm, ammunition, bomb, hand grenade, or explosive or
  incendiary device, instrument or object or thing intended or liable to cause death or serious injury, specifically, without a
  permit issued by or on behalf of a military commander, specifically:
  During the above-stated periocl, the Defendant had in his possession a satchel which held the following weapons:
       r     A revolver
       r     A Smith & Wesson handgun
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 3 of 56




      a    A Kalachnikov assault rifle
      a    A cartridge
      a    54 bullets


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  SHATSKY- JDO1578-T                                    CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 4 of 56




 SHATSKY-JDo1579-T                                                                                     CONFIDENTIAL

  Page: 18/29 To: 022954953                                 046111741 From:ADV-SALH-M 13-MAR-201',1 17:19
 Si4ig$-g!E!: (Police File 10283/01 zion)
 Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
 and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
 225),5728-1968.
 Details of the Offense:The above-named Defendant, variously inside and outside the Region, on or around 12.O'l .2001'
 intentionally caused the death of another, specifically:
     1. ln October 2OO1 or thereabouts, Jamal Mohamed Farah Tawil (hereinafter: Jamal) contacted the Defendant and
          noted to him that there were two young men (hereinafter: Osama Mohamed Bahr and Nabil Mahmoud Jamil
          Halabiyeh) who had contacted him and were interested in taking part in Hamas military activity during the intifada.
          Jamal asked the Defendant if there was someone who could meet with them on the subject. The Defendant asked
          Jamal to inform one of the young men to come to a meeting with them in a place close to the hospital in Ramallah
          and even set a day and time for this meeting.
     2. Afterwards, the Defendant contacted his friend, a senior Hamas activist, Saleh Telahmeh (hereinafier: Saleh),
          and updated him regarding the request of Osama Mohamed Bahr and Nabil Mahmoud Jamil Halabiyeh. The
          Defendant sent Saleh to the said meeting.
     3. Upon his return from the meeting, Saleh noted to the Defendant that he had met with Osama Mohamed Bahr and
          updated him that the latter and Nabil Mahmoud Jamil Halabiyeh were interested in executing a suicide terror
          attack. Saleh and the Defendant discussed the issue and thought that in the long run, Hamas would benefit more
          if Osama Mohamed Bahr and Nabil Mahmoud Jamil Halabiyeh would help them with other issues, such as:
          gathering intelligence, since the two of them were Jerusalem residents, rather than sending them to execute a
          suicide terror attack.
     4. Saleh updated the Defendant that he had met Osama Mohamed Bahr and Nabil Mahmoud Jamil Halabiyeh again
          and had tried to persuade them not to execute a suicide terror attack for the above-stated reason, but without
          success. Saleh noted to the Defendant that Osama Mohamed Bahr and Nabil Mahmoud Jamil Halabiyeh were
          determined to execute a double suicide terror attack in the center of Jerusalem in a place they knew, and that
          they knew what was the best time to execute the terror attack. The Defendant said in reaction to Saleh that he
          preferred that each one execute a separate terror attack several days apart and thus it would be considered two
          terror attacks that the organization had carried out.
      S. AfleMards, Saleh updated lhe Defendant that Osama Mohamed Bahr and Nabil Mahmoud Jamil Halabiyeh
           refused to execute the terror attacks separately, as per the Defendant's said suggestion.
      6. After the death of Hamas activist Mahmoud Abu Hanoud in the second half of October 2001, Saleh and the
           Defendant decided to send Osama Mohamed Bahr and Nabil Mahmoud Jamil Halabiyeh to execute a suicide
          terror attack together as revenge for his death.
      7. For the purpose of executing the terror attack, Saleh and the Defendant informed Abdullah Ghaleb Abdullah
           Barghouti (hereinafter: Abdullah) via contact person Sayyid Abdel Karim Khadr Sheikh-Qasem, code-named
           Salah 2 (hereinafier: Salah 2) about the readiness of Osama Mohamed Bahr and Nabil Mahmoud Jamil Halabiyeh
           to execute a double suicide terror attack and requested that Abdullah construct explosive belts for them for this
           purpose. Abdullah agreed to do this.
      B. Afterwards, Abdullah made an "Umm al-Abd" type of explosive from the raw material H2O2.
      g. Abdullah constructed three explosive devices from the above-named explosives. Abdullah put the first explosive
           device into a computer box. He constructed the second explosive device in the shape of a suicide belt, while he
           put the third explosive device into a black cloth satchel. ln addition to the above-named explosive, Abdullah put
           into the said explosive devices metal fragments consisting, among other things, of nails and nuts, in order to
           increase the intensity of the impact when they exploded. Abdullah attached activation mechanisms to all three
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 5 of 56




           explosive devices, with the explosive devices in the shape of an explosive belt and in the computer box activated
           by pressing the activation switch, while the explosive device that was hidden inside the cloth black satchel
           activated via a stopwatch. Likewise, Abdullah put into the said explosive devices poisonous material in order to
           make the devices even deadlier.
      10. Abdullah gave the three said explosive devices to Salah 2 so that the latter would could transfer them to Hamas
           activists whowould uCe them to execute the planned terror aitact<. RccorOing to the plan, the double suicide terror
           altack would be combined with a car bomb that would explode via the explosive device that Abdullah had put into
           the black cloth satchel, as stated above.
      11. Afteruards, the above-named explosive devices were transferred to Osama Mohamed Bahr and Nabil Mahmoud
           Jamil Halabiyeh and the explosive device hidden in the black cloth satchel was secreted in a blue-colored Opel
           Cadet vehicle, license plate numbet 47-749-87.




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  SHATSKY- JDO1579-T                                                                                   CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 6 of 56




 SHATSKY-JDO1s8O-T                                                                                     CONFIDENTIAL
  pagei 1gt2g To: 022954953                                046111741 From:ADV-SALH-M 13-MAR-201 I 17:19
      12. On 12.01.2001 , around 23:36, at or around the entrance to Ben Yehuda Street from Zion Square in Jerusalem,
          the suicide bomber Osama Mohamed Bahr activated the explosive device that had been constructed by Abdullah
          and hidden in a computer box as stated above, with the intention of causing the death of as many people as
          possible. The above-named explosive device detonated'
      13. On the same day, at approximately the above-named time, at the junction of Ben Yehuda and Luntz Streets in
          Jerusalem or thereabouts (a distance of just a few meters from the explosion of the first device), the second
          suicide bomber, Nabil Mahmoud Jamil Halabiyeh, activated the explosive device that had been constructed by
          Abdullah in the shape of an explosive belt as stated above, with the intention of causing the death of as many
           people as possible. The above-named explosive device detonated.
      14. On the same day, a few minutes afler the two above-named suicide bombers activated the above-named
          explosive devices, the third explosive device, which had been hidden in a black cloth satchel, as stated above,
          was activated. The third explosive device was activated in an Opel Cadet vehicle, license plate number 47-749-
           87, which was parked on Rabbi Kook Street near Yaffo Street in Jerusalem (a distance of a few dozen meters
           from the site of the explosions of the two above-named explosive devices). The above-named explosive device
           was activated with the intention of causing the death of as many people as possible..
      1S. As a result of the detonation of the three above-named explosive devices, which were detonated as described
          above, 11 people were killed ancl approximately 191 people were injured, as will be detailed in the following
           Counts of the indictment.
      16. Wth his actions as described above, the above-named Defendant intentionally caused the death of 18-year-old
          yosef El-Ezra ol blossed memory, who was killed as a result of the detonation of the explosive devices in central
           Jerusalem as described above.


  Sixtv-first Count: (Police File 10283/01 Zion)
  Nature ofthe Offense: lntentionally causing death, an offense pursuant to Section 51(a) ofthe Security Provisions (Judea
  and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
  225),5728-,1568.
  Details of the Oflense: The above-named Defendant, on the date and under the circumstances described in the sixtieth
  Count of the indictment, intentionally caused the death of another, specifically:
  On the date and under the circumstances described above, the Defendant intentionally caused the death of Assaf Avitan
  of blessed memory.


  Sixtv-second Gount: (Police File 10283/01 Zion)
  IC!@tl@$ense:-lntentionally           causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
  and Samaria) Order (No. 378), 5730-1 970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No'
  225),5728-'t968,
  Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the sixtieth
  Count of the indictment, intentionally caused the death of another, specifically:
  On the clate and under the circumstances described above, the Defendant intentionally caused the death of Guy Vaknin
  of blessed memory.


  SixgjEg!-@!l!: (Police File I 0283/01 Zion)
  Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
  and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
  225),5728-1968.
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 7 of 56




  Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the sixtieth
  Count of the indictment, intentionally caused the death of another, specifically:
  On the date and under the circumstances described above, the Defendant intentionally caused the death of Yoni
  Korganov of blessed memory.


  Sixw:fouith COUhI: (Pdlice Fllo 10283/01 Zioh)
  Nature ofthe Offense: lntentionally causing death, an ofiense pursuant to Section 51(a) ofthe Security Provisions (Judea
  and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
  225),5728-1968.
  Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the sixtieth
  Count of the indictment, intentionally caused the death of another, specifically:
  On the date and under the circumstances described above, the Defendant intentionally caused the death of yaakov
  Ylsrael Danlno of blessed memory.




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  SHATSKY. JDO158O.T                                                                                CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 8 of 56




 SHATSKY-JDo1s81-T                                                                                    CONFIDENTIAL
  paget2)rg   To:022954953                                046111741 From:ADV-SALH-M 13-MAR-2011 17:20
 Sixtv-fifth Count: (Police File 10283/01 Zion)
                                                                                                                     (Judea
 Nature of the offense: lntentionally causing death, an offense pursuant to Section 51(a) of the security Provisions
                                                                                                                 Order (No.
 and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria)
 225),5728-1968.
                                                                                                                     sixlieth
 Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the
 count of the indictment, intentionally caused the death of another, specifically:
                                                                                                          of Michael Dahan
 On the date and under the circumstances described above, the Defendant intentionally caused the death
 of blessed memory.
 Sixtv-sixth Count: (Police Filo'1 0283/0'l Zion)
                                                                                                                     (Judea
 Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions
                                                                                                                 Order (No.
 and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria)
  225),5728-1968.
  Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the
                                                                                                                     sixtieth

  count of the indictment, intentionally caused the death of another, specifically:
                                                                                                        ofGolan
  On the date and under the circumstances described above, the Defendant intentionally caused the death
  Turgeman of blessed memory.
  Sixtv-seventh Count: (Police File 10283/01 Zion)
                                                                                                                      (Judea
  Nature of the offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions
                                                                                                                   Order (No.
  and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria)
  225\,5728-1968.
  Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the
                                                                                                                      sixtieth

  count of the indictment, intentionally caused the death of another, specilically:
  On the date and under the circumstances described above, the Defendant intentionally caused the death
                                                                                                        of Adam

  Weinstein of blessed memory.
  Sixtv-eiqhth Count: (Police File 10283101 Zion)
                                                                                                           Provisions (Judea
  Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security
                                                                                                                  Order (No
  and Samaria) Order (No. 378), 5730-1970, and Section 14(aX2) of the Criminal Liability (Judea and Samaria)
  225),5728-1968.
  Details ol the Offense: The above-named Defendant, on the date and under the circumstances described in the
                                                                                                                      sixtieth

  count of the indictment, intentionally caused the death of another, specifically:
                                                                                                            of Moshe Yedid-
  On the date and under the circumstances described above, the Defendant intentionally caused the death
  Levy of blessed memory.
  Sixtv-ninth Count: (Police File 10283101 Zion)
                                                                                               the Security Provisions (Judea
  lI3l@.9ffIggllgl$Llntentionally causing death, an offense pursuant to Section 51(a) of
                                                                                                              Order (No.
  and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria)
  225),5728-1968.
                                                                                                                      sixtieth
  Details of the Oftense: The above-named Defendant, on the date and under the circumstances described in the
  count of the indictment, intentionally caused the death of another, specifically:
  On the date and underthe circumstances described above, the Defendant intentionally caused the
                                                                                                        death of Nil Haftzadi

  of blessed memory.
  Seventieth Count: (Police File 10283/01 Zion)
                                                                                                         Provisions (Judea
  Nature ofthe Offense: lntentionally causing death, an offense pursuant to Section 51(a) ofthe Security
                                                                                                                Order (No.
  and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria)
  225),5728-1968.
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 9 of 56




  Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the sixtieth
  Count of the indictment, intentionally caused the death of another, specifically:
  On the date and under the circumstances described above, the Defendant intentionally caused the death of ldo CohEn of
  blessed memory.
  Seventu-first Count: (Police File {0283/01 Zion)
  NaturE of the OffonEe: Atempt t0 intentionally cause death, an offense pursuant to Section s1(a) of the Security
  Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Sections 14(a), 19 and 20 of the Criminat Liability (Judea
  and Samaria) Order (No. 225),5728-'1968.
  Details of the Offense:The above-named Defendant, variously inside and outside the Region, on or around 12.01.2001,
  attempted to intentionally cause the death of another, specifically:
  The above-named Defendant, at the time and under the circumstances stated in the sixtieth Count of the indictment, with
  his actions as described in ihe sixtieth Count of lhe indictment, attempted to cause the death of as many people as possible.
  As a result of the detonation of the explosive devices that were activated as described in the sixtieth Count of the indictment,
  approximately lgl people were injured.


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  SHATSKY. JDO1581-T                                                                                       CONFIDENTIAL
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  SHATSKY-JD01582-T                                                                                                 CONFIDENTIAL

   Page:21129                         To:022954953               046111741 From:ADV-SALH-M                           13-MAR-2011 17:20

  Witnesses for the Prosecution:
      1. Code-named "Allan"
      2. Code-named "Yaron"
      3. Code-named "Nurit"
      4. Code-named "Abu Yousef'
      5. Mohammed Hasan Ahmad Arman, lD No. R"d""t"d6259 (sentenced)
      6. Abdullah GhalebAbdullah Barghouti, Jordanian passport^o"""01198 (sentenced)
      7. Walid Abdel Aziz Abdel Hadi Anjas, lD No. R€dacred8108 (sentenced)
      8. Hudeifa lbrahim Abdel Jalil Anjas, lD No.Redacted6538 (sentenced)
      9. Wael Mahmoud Mohamed Ali Qasem, lD No. Redscbd2755 (sentenced)
       10. Wisam Sa'id MusaAbbasi, lD No R"d""bd4403 (sentenced)
       1   1. Mohamed lshaq Awda, lD No. Rd""t"d 302 (sentenced)
                                                      1


       12. Ala'a A-Din Mahmoud Abbasi, lD No R'd""r"d4818. (sentenced).
       13. Aslam Hasan Jamil Hamed, lD No. R"d""r"d7933. (sentenced).
       14. Abdullah lsma'il Mohamed Hamed (sentenced).
                                                  R"d'"bd4466 (sentenced)
       15. Ribhi Ribhi Abdel Majid Hazaneh, lD No
       16. Hasan Abdel Rahman Hasan Ladadweh, lD No- R"d'"td3486 (sentenced)'
       17. Adv.St.Sergeant-MajorKhaledSarkhan,Personal lDNo."""lTS6,CoordinationandLiaisonOfficeleditsac{ionreport+seizure
                 and marking minutes +clarification minutesl.
       18. Adv. St. Sergeant-Major David Cohen, Personal lD No. "'3308, Benjamin Forensics Unit [exhibit chain+ exhibit chain report
                 clarificationl.
       19. Tzvi Sadeh, Benjamin Station lexhibit chain+edits exhibits delivery report]'
       20. Eyal Shahar, IDF (details in the prosecution file).
       21. Meir Vanunu, personal lD No. ^"0"1849, Hebron Police (submits exhibits delivery to weapons lab report).
       22. Sergeant-MajorMaximGetfand,Personal lDNo.R*""'Tllg,inchargeofBenjaminarmory, IDF(exhibitchain)'
       23. Major Avinoam Betzalel, Personal lD No. ^""*6557, IDF (submits seizure report)'
                                                             *'"2699, Forensics Unit (submits acceptance of exhibits for examination report).
       24. Sr- Master Sergeant Ziva Hoter, personal lD No.
       25. Exhibits Registration Card 277 loo Benjamin.
       26. Avi Kaufman, weapons lab, national headquarters (edits expert opinion from 06.1 1 .2006).
       27. FirstSergeantyitzhakYakovof, Personal lD No.^*"''8358 (takesthe Defendant'sstatementfrom 07.18.2006)
       28. Jamal Mohamed Farah Tawil, lD No- Redact€d0271 (details are in the prosecution file).
  {Police File 268/02 Shafat
       29. Eyal Timor (details are in the prosecution file).
       30. Sergei Tzaliban (details are in the prosecution file).
                                                                  **"1604, Bomb Department (submits expert opinion, submits seizure and
       31. Chief lnspector lgor Peckerman, Personal lD No.
                 marking report)
       32. Sarah Abramowitz-Bar, Forensics Unit (submits expert opinion)
       33. Exhibits Registration Cad 183102
   lPolice File 151202 Moriah
       34. Daniel Turgeman (details are in the prosecution file)
       35. Mordechai (Motti) Mizrachi (details are in the prosecution file)
           36. Amir Moshe (details are in the prosecution file)
           37. Ronen Mordechai (details are in the prosecution file)
           38. Qawasmeh Qauri (details are in the prosecution file)
           39. Avigayil Chen (details are in the prosecution file)
           40. Michal Rothschild (details are in the prosecution file)
           41   . Dana Haimson (details are in the prosecution file)
           42. Roey Bitton (details are in the prosecution file)
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 11 of 56




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  SHATSKY- JDO1582-T                                    CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 12 of 56




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       Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 13 of 56

CONFIDENTIAL                                                                                                   SHATSKY-JDO155O




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                                                                        Arabic parts match each other

       According to the information received from the
                                                         lsraeliAuthorities, lhe lnternational committee of
       the Red Cross attests that:

       MT: IBRAHIM JAMIL ABDELGHANI HAMED
       From: RAMALLAH                                                   lD NO: Redactedogg6

      Was arrested by the lsraeliAuthorities on (dd/mm/yyyy);
                                                                       23.05.2006

      He is to date: Sentenced

      Length of sentencb / administrative period:
                                                    life sentence
      Hq/She was released on (dd/MM/YYYY) : )fiIfi)OilXXXXXXXXXXXXXXXXXX$L\XXXXXXXXXXXX



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CONFIDENTIAL                                                                                                   SHATSKY-JDO155O
       Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 14 of 56

CONFIDENTIAL                                                                                                                                SHATSKY-J001551


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      According to the information received from the lsraeliAuthorities, the International Committee of

      the Red Cross attests that:

      MT: IBRAHIM JAMIL ABDELGHANI HAMED
      From: RAMALLAH                                                                         lD No:Redactedggg6

      Was arrested by the lsraeliAuthoriiies on (dd/mm/yyyy): 23.05.2006

      He is to date: Sentenced

      Length o{ sentence / administrative period: life sentence

      l-teishe was released on (dd/mm/yyyy): XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX


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CONFIDENTIAL                                                                                                                               SHATSKY.JDO1557


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                                                   TO WHOM IT MAY CONCERN

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     According to the information received from the lsraeliAuthorities, the lnternational Committee of

     the Red Cross attests that:
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     MT: IBRAHIM JAMIL ABDELGHANI HAMED
     From: RAMALLAH                                                                            lD NO:Redacted]886

     Was arrested by the lsraeli Authorities on (dd/mmlyyyy):                                  23.05.2006

     He ie to date: Sentenced

     Length of sentence I administrative period: life sentence
     He/She was released on (dd/mm lyyyy):


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                    Exhibit 17 I
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                                                    Prisoner      5tatement
 Prisoner no.21418
 Prisoner Name: lbrahim Jamil Abd el-Gl-ani Hamed
     Document no. 991260886
 Month Year Beneficiary                             lD no.       Bank Name    Branch   Account no      Salarv




                                                    Redacted




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                                                  Prisoner     Statement
Prisoner no.21418
Prisoner Name: lbrahim Jamil Abd El-Ghani Hamed   Document no
Month Year Beneficiary                            lD no     Bank Name      Branch   Account no.     Salarv




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                                                  Prisoner Saia   Statemert
 Prisoner no.21418
 Prisoner Name: lbrahim JamilAbd el-Ghani Hamed   Document no.
 Month Year Beneficiary                           lD no     Bank Name         Branch   Account nc.     Salary




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                                                  Prisoner Sala   Statement
Prisoner no.21418
Prisoner Name: lbrahim Jamil Abd el-Ghani Hamed   Document no.  1

Month Teti I Beneficiarv                          lD no     Bank Name         Branch   Account no      Salary




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                                                   Prisoner       Statement
 Prisoner no.21418
 Prisoner Name: lbrahim JamilAbd el-Gl'ani Hamed   Document no. 991260886
 Month Year Beneficiary                            lD no.    Bank Name        Branch   Account no.     Salarv




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                                                  Prisoner Sala   Statement
Prisoner no.21418
Prisoner Name: lbrahim Jamil Abd el-Ghani Hamed   Document no. 991260886
Month Year Beneficiary                            lD no.    Bank Name         Branch   Account no      Salary




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                                                         Prisoner Sala   Statement
 Prisoner no" 21418
 Prisoner Name: lbrahim JamilAbd el-Ghani Hamed          Document no. 991 26'1886
 Mon:h Year Beneficiary                                  lD no      Bank Name        Branch   Account no      Salary




 4       2024 Muhammad Naiib Jamil Famed                      0845                                           6.085.00
 4       202A Al-Karamah Housing Cooperative for fiast   202020                                              1,000,00
              word cut offl
 5       2020 Muhammad Naiib Jamil Hamed                                                                     6.085.00
 5       2020 Al-Karamah Housing Cooperative for flast   202024                                              1,000.00
               word cut offl
 6       2020 Muhammad Naiib Jamil Hamed                      0845                                           6.485.00
 6       2020 Al-Karamah Housing Cooperative for fiast   202420                                               1,000.00
               word cut offl
 7       2020 Muhammad Naiib Jamil Hamed                      0845                                           6,085.00
 7       2020 Al-Karamah Housing Cooperative for fiast   202020                                              1,000.00
               word cut offl
 8       2020 Muhammad Naiib Jamil Hamed                      0845                                           6.085.00
 8       2020 Al-Karamah Housing Cooperative for fiast   202020                                              1,000.00
               word cut offl
 9       2020 Muhammad Naiib Jamil Hamed                       0845                                          6,085.00

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                          Case 1:18-cv-12355-MKV-DCF Document 177-26 Filed 05/16/22 Page 47 of 56




                                                            Prisoner Sala   Statement
Prisoner no. 21418
Prisoner Name: lbrahim JamilAbd El-Ghani Hamed             Document no. 991260886
Month Year Beneficiary                                     lD no      Bank Name         Branch   Account no.     Salarv
I       2020 Al-Karamah Housing Cooperative for [last      242020                                                1,000
                word cut offl                              -Redacted0g45
10       2020 Muhammad Naiib Jamil Hamed               '20202A
10       2020 Al-Karamah Housing Cooperative for [last                                                           1,000.00
                word cut offl                              -Redacted0g4S
11       2024 Muhammad Naiib Jamil Hamed               '202020
11       2020 Al-Karamah Housing Cooperative for [last                                                           1,000.00
                word cut offl
12       2020 Muhammad Naiib Jamil Hamed                         0845                                            6
'12      2020 Al-Karamah Housing Cooperative for [last      202024                                               1,000,00
                word cut offl
                                                           Redacted0845                                          6       .00
1        2A21   Muhammad Naiib Jamil Hamed                 -202020
1        2021 Al-Karamah Housing Cooperative for [last                                                                    o0
                word cut offl
2        2021 Muhammad Naiib Jamil Hamed                         0845                                            6.085.00
2        2021 Al-Karamah Housing Cooperative for [last      202020                                               1,000.00
                word cut offl
                                                           Keoacteo0g4S                                          6.085.00
3        2021 Muhammad Naiib Jamil Hamed
3        2021 Al-Karamah Housing Cooperative for [last      20202A                                               1,000"00
                word cut offl
4        2021 Muhammad Naiib Jamil Hamed                         0845
4        2021 Al-Karamah Housing Cooperative for [last      202024                                               1,000.00
                word cut offl
5        2021 Muhammad Naiib Jamil Hamed                         0845                                            6,085_00
5        2421   Al-Karamah Housing Cooperative for [last    202024                                               1,000.00
                word cut offl

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